USCA Case #24-1364               Document #2095073            Filed: 01/21/2025      Page 1 of 1


                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                          ____________


No. 24-1363                                                     September Term, 2024
                                                                                FCC-89FR91578
                                                       Filed On: January 21, 2025 [2095073]
Public Safety Spectrum Alliance and Public
Safety Broadband Technology Association,

                   Petitioners

         v.

Federal Communications Commission and
United States of America,

                   Respondents


------------------------------

Consolidated with 24-1364, 25-1028

                                             ORDER

       It is ORDERED, on the court's own motion, that these cases be consolidated.
Petitioners in case No(s). 25-1028 are directed to file the following document(s) by the
indicated date(s):

          Docketing Statement Form                                      February 20, 2025
          Statement of Issues to be Raised                              February 20, 2025

                                                              FOR THE COURT:
                                                              Clifton B. Cislak, Clerk
                                                      BY:     /s/
                                                              Emily K. Campbell
                                                              Deputy Clerk

The following forms and notices are available on the Court's website:

         Agency Docketing Statement Form
